       Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 1 of 12                      FILED
                                                                                  2019 May-10 AM 08:48
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


TERRY PAGE, DANIEL PAGE,
JOSH KING, AND,
JASON ALEX SPENCER,

       PLAINTIFFS,

VS.                                          CV NO.:2:18-cv-01754-JHE

BOATRIGHT COMPANY, INC.,

       DEFENDANT.                            JURY TRIAL DEMANDED

            FIRST AMENDED AND RESTATED COMPLAINT

   I. JURISDICTION

            The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331,

1343(4), 2201 and 2202 and pursuant to the Fair Labor Standards Act (“FLSA”), 29

U.S.C. § 201, et seq. District Court jurisdiction exists pursuant to 29 U.S.C. §§

215(a)(3) and 217 and 28 U.S.C. § 1331. The jurisdiction of this Court is invoked to

secure the protection and redress the deprivation of rights secured by the FLSA.

  II. PARTIES

            Plaintiff, Terry Page (hereinafter “ T. Page” or “Plaintiff”) is a resident

of Kimberly, Jefferson County, Alabama, and performed work for the Defendant in

the counties composing the NORTHERN District of Alabama during the events of

this case. Terry Page was an employee within the contemplation of 29 U.S.C. §
        Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 2 of 12




203(e)(1). Thus, pursuant to 28 U.S.C. § 1391(b), venue for this action lies in the

Northern District, Southern Division.

             Plaintiff, Daniel Page (hereinafter “D. Page” or Plaintiff”) is a resident

of Morris, Jefferson County, Alabama, and performed work for the Defendant in the

counties composing the NORTHERN District of Alabama during the events of this

case. Daniel Page was an employee within the contemplation of 29 U.S.C. §

203(e)(1). Thus, pursuant to 28 U.S.C. § 1391(b), venue for this action lies in the

Northern District, Southern Division.

             Plaintiff, Josh King (hereinafter “Plaintiff”) is a resident of Hayden,

Blount County, Alabama, and performed work for the Defendant in the counties

composing the NORTHERN District of Alabama during the events of this case. Josh

King was an employee within the contemplation of 29 U.S.C. § 203(e)(1). Thus,

pursuant to 28 U.S.C. § 1391(b), venue for this action lies in the Northern District,

Southern Division.

             Plaintiff, Jason Alex Spencer (hereinafter “Spencer” or “Plaintiff”) is a

resident of Pinson, Jefferson County, Alabama, and performed work for the

Defendant in the counties composing the NORTHERN District of Alabama during

the events of this case. Jason Alex Spencer was an employee within the

contemplation of 29 U.S.C. § 203(e)(1). Thus, pursuant to 28 U.S.C. § 1391(b),

venue for this action lies in the Northern District, Southern Division.
       Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 3 of 12




            Defendant Boatright Company, Inc., (“Defendant”) is a company

registered and doing business in the State of Alabama with offices located in

Birmingham, Jefferson County, and has sufficient minimum contacts with the State

of Alabama that it is subject to service of process in Alabama. Defendant is engaged

in commerce from the production of goods as contemplated by 29 U.S.C. §§ 203(r),

203(s). Therefore, this Court has jurisdiction over Defendant.

 III. STATEMENT OF FACTS

            Plaintiffs hereby incorporates by reference each of the allegations

contained in paragraphs 1-6 above.

            Defendant hired T. Page during the year 2002.

            Defendant operates a commercial refrigeration installation business.

            Defendant employed T. Page as a pipe fitter.

            T. Page resigned his employment in 2018.

            Defendant hired D. Page during the year 2008.

            Defendant employed D. Page as a pipe fitter.

            D. Page resigned his employment in 2018.

            Defendant hired King during the year 2007.

            Defendant employed King as a pipe fitter.

            King resigned his employment in 2017.

            Defendant hired Spencer during the year 2012.
        Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 4 of 12




             Defendant employed Spencer as a pipe fitter.

             Spencer resigned his employment in 2018.

             Defendant assigned pipe fitters, such as the Plaintiffs, to travel to

customer locations and perform installation work of commercial refrigeration

equipment and perform maintenance on said equipment.

             Defendant directed Plaintiffs, and other similarly situated pipe fitters,

to travel across state lines in order to perform their services for the benefit of

customers.

             At all times during the employment relationship, Defendant classified

Plaintiffs as an hourly paid, non-exempt employee.

             Defendant last paid T. Page an hourly rate of $29.00 per hour.

             During the three years preceding the filing of this Complaint, Defendant

also paid T. Page an hourly rate of $25.00 per hour.

             Defendant last paid D. Page an hourly rate of approximately $23.00 per

hour.

             Defendant last paid King an hourly rate of approximately $21.50 per

hour.

             Defendant last paid Spencer an hourly rate of approximatly $16.00 per

hour.
       Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 5 of 12




             During the three years preceding the filing of this complaint, Plaintiffs

typically worked over forty hours in a work week.

             Plaintiffs regularly worked between forty-eight (48) and sixty (60)

hours in a work week.

             For purposes of recording hours worked and determining overtime

compensation, Defendant sets its workweek to begin on Monday at 12:00 a.m. and

end on Sunday at 11:59 p.m.

IV.   COUNT ONE – FLSA – Overtime Violations

             Plaintiffs hereby incorporate by reference each of the allegations

contained in paragraphs 1-31 above.

             During the three years preceding the filing of this Complaint, Defendant

is an enterprise engaged in commerce or the production of goods in commerce as

defined by 29 U.S.C. 203(s)(1).

             During the three years preceding the filing of this Complaint, Defendant

has been a company whose employees, including the Plaintiffs, are engaged in

interstate commerce and whose employees handle and/or work on goods that have

been moved in and/or produced in commerce.

             Defendant’s gross annual volume of revenue exceeds $500,000.

             At all times relevant to this action, Defendant was an employer of

Plaintiffs as defined by 29 U.S.C. § 203(d).
        Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 6 of 12




             During the three years preceding the filing of this Complaint, Plaintiffs

and all other similarly situated pipe fitters were employees of Defendant as defined

by 29 U.S.C. § 203(e)(1).

             Plaintiffs and all similarly situated pipe fitters employed by Defendant

were engaged in interstate commerce and/or the production of goods for interstate

commerce while working for Defendant. Plaintiffs’ interstate commercial activity

included, but was not limited to, installing refrigeration products that originated out

of state or outside of the United States, and sold to customers not in the State of

Alabama, and servicing refrigeration equipment and products owned by customers,

and operating their businesses, outside of the State of Alabama.

             During the three years preceding the filing of this Complaint, Defendant

recorded Plaintiffs’ hours worked in excess of forty hours for a work week on at

least one or more occasion.

             Defendant failed to pay Plaintiffs for all hours worked in excess of forty

in a work week.

             Defendant provided Plaintiffs, and other similarly situated employees,

with a General Motors Corporation 2500 Sierra truck or Chevrolet Silverado truck

in order to travel from their home or Defendant’s location to the customer’s location.

             The commercial motor vehicle weight of General Motors Corporation

2500 Sierra truck is less than 10,001 pounds.
        Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 7 of 12




             The commercial motor vehicle weight of a Chevrolet Silverado truck is

less than 10,001 pounds.

             As part of their job duties, Plaintiffs typically left their respective

homes or Defendant’s office, and traveled to the customer location.

             Defendant compensated Plaintiffs, and other similarly situated

employees, for the travel time from their respective homes in Jefferson and Blount

County, or Defendant’s office, to the customer location if such travel was in excess

of fifty miles from the Plaintiff’s respective homes.

             For the benefit of the Defendant, Plaintiffs, and similary situated pipe

fitters often remained “out of town” staying in hotels throughout the week on jobs if

the travel was in excess of fifty miles from Plaintiffs’ respective homes or

Defendant’s office.

             At the conclusion of the work & labor performed for the customer, and

the benefit of the Defendant, Plaintiffs traveled from the customer location back to

their respective homes or the Defendant’s office.

             Defendant failed to compensate Plaintiffs for the travel time from the

customer location back to their respective homes or the Defendant’s office,

regardless of the length of the trip.

             During 2015 and 2016, Defendant paid Plaintiffs, and other similarly

situated employees, travel time to the customer location separate and apart from
        Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 8 of 12




labor, requiring forty hours of actual labor plus the labor in an equal amount of the

travel time before any overtime premium applied.

             When Defendant followed this policy of paying straight time as

described in the preceding paragraph, Defendant also failed to pay Plaintiffs, and

other similarly situated employees, any compensation for the travel time from the

customer location back to the employee’s home or Defendant’s office.

             Beginning in or about 2016, Defendant changed its policy regarding

travel time and began counting travel time to the customer location with labor time.

             Defendant often assigned to Plaintiffs and other similarly situated

employees to work and travel as a team in the installation and service duties for the

benefit of Defendant’s customers.

             Later, Defendant changed its policy regarding travel pay rendered to

the pipe fitters, such as Plaintiffs and other similarly situated employees, wherein

Defendant compensated Plaintiffs for the travel time necessary to arrive at the

customer location, but Defendant did not compensate Plaintiffs and other similarly

situated employees, for the travel time to return home.

             As part of the policy referenced in the above paragraph, Defendant also

compensated the other employee assigned to work and travel as a team for the travel

time to the customer location but did not compensate him from the customer location

back to the his home.
        Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 9 of 12




             Pursuant to the Defendant’s policy, Plaintiffs and other similar situated

employees were assigned to drive Defendant’s trucks, any employee assigned to a

truck could from time to time participate in the labor of travel to and from the

customer location, resulting in all pipe fitters driving without compensation.

             As part of the policy referenced in the above paragraph, Defendant

failed to compensate the Plaintiffs for travel time from the customer location back

to his home or Defendant’s office at a regular rate of pay or at an overtime rate of

pay.

             As a result of Defendant’s willful and intentional violation of the FLSA,

Plaintiffs have been damaged, suffering loss of overtime pay.

  V. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully prays for the following relief:

       A.    The Court issue proper process to compel Defendant to answer or

otherwise plead to the allegations contained in the Complaint;

       B.    This Court award Plaintiffs the amount of his back overtime pay, plus

an additional equal amount as liquidated damages; nominal damages; and special

damages;

       C.    That Plaintiffs be granted judgment against Defendant for all

reasonable attorneys’ fees, costs, disbursements and interest; and
       Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 10 of 12




      D.    For such other and further relief as this Court deems equitable, proper

and just.




                                      Allen D. Arnold




                                      Leslie Palmer

 OF COUNSEL:
 Allen D. Arnold, Attorney at Law
 A Member of Five Points Law Group, LLC
 2151 Highland Avenue South, Ste. 205
 Birmingham, Alabama 35205
 T: (205) 252-1550
 F: (205) 502-4476
 allen@5pointslaw.com

 Leslie Palmer
 Palmer Law, LLC
 104 23rd Street South, Suite 100
 Birmingham, Alabama 35233
 T: (205) 285-3050
 F: (205) 386-4383
 leslie@palmerlegalservices.com
Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 11 of 12




     PLAINTIFFS REQUESTS TRIAL BY STRUCK JURY




                             OF COUNSEL
       Case 2:18-cv-01754-JHE Document 25 Filed 05/10/19 Page 12 of 12




                         CERTIFICATE OF SERVICE

      I hereby certify that on May 10, 2019, I filed a copy of the foregoing with the
Clerk of this Court using the CM/ECF system of filing which will forward a copy to
counsel for the Defendant at the following address:


Michael L.Thompson




                                       _______________________________
                                       Of Counsel
